     Case: 1:19-cv-02725 Document #: 17 Filed: 12/20/19 Page 1 of 1 PageID #:53

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

R. Alexander Acosta
                                       Plaintiff,
v.                                                       Case No.: 1:19−cv−02725
                                                         Honorable Elaine E. Bucklo
Reliance Trust Company, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 20, 2019:


       MINUTE entry before the Honorable Elaine E. Bucklo: Pursuant to the notice of
settlement and stipulation, this case is dismissed with prejudice and without costs. All
pending dates before this court are stricken. Civil case terminated. Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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